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 8                            UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                1:15-cr-00288-012 LJO
12               Plaintiff,
                                              CUSTODY ORDER TO THE UNITED
13        vs.                                 STATES MARSHAL
14   ARTHUR ALLEN WALKER,
15               Defendant.
16

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18         Defendant Arthur Allen Walker continues to reside at a medical facility in
19   Tulare County. He is now a sentenced prisoner and is Ordered remanded to the
20   custody of the United States Marshal for transportation to the facility designated
21   by the Bureau of Prisons. The remand is to take place as soon as the BOP facility
22   is designated for transportation.
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     IT IS SO ORDERED.

25      Dated:   June 25, 2018                    /s/ Lawrence J. O’Neill _____
                                           UNITED STATES CHIEF DISTRICT JUDGE
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